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7
                IN THE UNITED STATES DISTRICT COURT FOR THE
8
                        EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,          ) 1:05-CR-0161 OWW
11                                      )
                    Plaintiff,          )
12                                      )
          v.                            ) ORDER
13                                      )
                                        )
14   JOSE NEGRETE,                      )
                                        )
15                  Defendant.          )
     ___________________________________)
16

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18
          Having read and considered the parties’ stipulation to
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     advance the current hearing date of June 11, 2007, to June 4,
20
     2007, in this matter,
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22        IT IS THE ORDER of the Court that the current hearing date

23   of June 11, 2007, as to this defendant is hereby vacated, the

24   hearing is reset for June 4, 2007, at 1:30 p.m. (after

25   arraignment and plea on the Third Superseding Indictment set on

26   June 4, 2007, at 1:30 p.m. before U.S. Magistrate Judge Sandra M.

27   Snyder) for the purpose of setting a new (the first for this
28
                                         1
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1    defendant’s new counsel) motions schedule and vacating the June

2    26, 2007, trial date.
3         Time was previously ordered excluded through June 26, 2007,
4    in the interest of justice, pursuant to 18 U.S.C. §
5    3161(h)(8)(A).
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     DATED: 5/31/07                          /s/ Oliver W. Wanger
9                                            United States District Judge

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